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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


HUMAN RIGHTS FIRST,                          Civil Action No. 1:20-cv-3764 (TSC)

                    Plaintiff,
       v.

CHAD F. WOLF, et al.,

                    Defendants.



                       PLAINTIFF’S REPLY IN SUPPORT OF ITS
                      MOTION FOR PRELIMINARY INJUNCTION



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                                        INTRODUCTION

       Defendants contend that the Rule is the culmination of twenty years of considered agency

review that faithfully applies the Immigration and Nationality Act (“INA”), 8 U.S.C. § 1101 et

seq. That is a fiction. It is no coincidence that every substantive change the Agencies made—in

a regulation spanning 128 three-column pages—makes it substantially more difficult to obtain

asylum and related relief in the United States. In the Refugee Act, a bipartisan Congress

intentionally made asylum uniformly available and sought to conform United States practice with

international refugee law. Had the Agencies faithfully applied that Act, the Rule would not make

asylum substantially less available at every turn and create standards that violate international

treaties. Yet that is exactly what the Rule does.

       The Rule is instead a final, hurried attempt to complete the Trump Administration’s four-

year effort to abrogate the Refugee Act. The Agencies conspicuously provided only thirty days

for notice-and-comment during a global pandemic for a rule they concede is “significant.” Despite

receiving 87,000 comments—mostly identifying problems with the Rule—the Agencies made

almost no substantive changes in response to commenters’ concerns.               The Agencies also

“decline[d] to respond” to numerous problems commenters identified, including that the Rule

violates international law, will negatively impact the economy, and will lead to inefficiency and

confusion. The Agencies flouted statutory requirements by picking an effective date just thirty-

one days after the final rule issued, instead of the required sixty days. The effective date is thus a

mere nine days before a new administration takes office.

       The Supreme Court cautioned that the Executive must “turn square corners” in issuing

regulations. DHS v. Regents of the Univ. of Cal., 140 S. Ct. 1891, 1909 (2020). Here, the Agencies

cut corners instead. An official without authority promulgated the Rule on behalf of Agencies in

excess of their authority under the INA and Constitution. The Agencies ignored key aspects of


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the problem and serious concerns raised by commenters, in violation of the Administrative

Procedure Act (“APA”). And individual provisions of the Rule violate the plain text of the INA

and the APA.

       Defendants’ attempt to rehabilitate the Agencies’ misguided enterprise is littered with

arguments courts have already rejected, and mis-citing some cases and omitting others entirely. In

a headlong rush to justify their rewriting portions of the INA’s plain text, Defendants offer no real

rebuttal to the fact that the Rule as a whole functionally extinguishes the right to asylum and related

relief. The Agencies, thus, arrogate unto themselves authority not delegated by Congress.

                                           ARGUMENT

I.     HRF Is Likely to Succeed on the Merits

       A.      This Court Can Adjudicate HRF’s Claims

               1.      HRF Has Constitutional Standing

         Under D.C. Circuit precedent, an organization must meet two requirements to establish

constitutional standing:    (1) the defendant’s allegedly unlawful activities injured plaintiff’s

interests in promoting its mission, and (2) the plaintiff used its resources to counteract that injury.

See ASPCA v. Feld Ent., Inc., 659 F.3d 13, 25 (D.C. Cir. 2011). Human Rights First (“HRF”)

easily meets both requirements. See CAIR Coal. v. Trump, 471 F. Supp. 3d 25, 43 (D.D.C. 2020)

(holding a similar organization, raising similar claims, had standing); O.A. v. Trump, 404 F. Supp.

3d 109, 144 (D.D.C. 2019) (same).

       The Rule directly conflicts with HRF’s mission of “promoting and protecting the rights of

refugees and asylum seekers.” Mot. for Prelim. Inj. (“Mot.”), Dkt. 5, Ex. B (Breen Decl.) ¶ 4.

Defendants do not rebut the declaration of HRF’s CEO that, “if the Rule were to go into effect, it

is likely that more than 80 percent of [HRF’s] clients’ cases would be negatively impacted.” Id.

¶ 11. Nor do Defendants rebut his explanation that reducing HRF’s caseload has a direct negative


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impact on the organization’s funding. Id. ¶ 25.

        Defendants instead contend that the “clarif[ied] asylum standards” and increased

“efficien[cy]” the Rule purportedly creates will reduce the amount of time HRF must spend on

each case. Defs.’ Opp. to Mot. for Prelim. Inj. (“Opp.”), Dkt. 8, at 11. This argument, however,

improperly presupposes Defendants are correct on the merits. In fact, HRF is owed the opposite

presumption instead. See Cutler v. HHS, 797 F.3d 1173, 1179–80 (D.C. Cir. 2015). In any event,

Defendants’ biased, unsupported view that HRF can spend less time representing asylum seekers

is irrelevant and wrong. HRF advances its mission and expends resources not by merely offering

pro forma representation, but by zealously advocating on behalf of asylum seekers.                  The

unrebutted evidence in the record is that its advocacy will be more time-consuming and costly

under the Rule, requiring HRF to “use[] its resources to counteract [the] injury” to its mission.

ASPCA, 659 F.3d at 25.

        Defendants separately contend that any harm HRF suffers is “self-inflicted.” Opp. 11.

Hardly. To start, that exception to organizational standing typically applies only when the plaintiff

diverts resources to bring the suit. See ASPCA, 899 F.2d at 27; see also Equal Rights Ctr. vs. Post

Props. Inc., 633 F.3d 1136, 1140 (D.C. Cir. 2011). That is not the case here. Moreover, the Rule

forces HRF to either represent its clients inadequately or lose funding because it serves fewer

clients. See Breen Decl. ¶¶ 4, 11, 25. When a rule forces a plaintiff to pick a poison, the ensuing

illness is not self-inflicted.

        Defendants also contend that a third standing requirement exists. To do so, they rely on

Judge Millett’s separate opinion in PETA v. USDA, 797 F.3d 1087 (D.C. Cir. 2015), for the

proposition that the statute at issue must also confer a specific benefit to the organizational plaintiff

for it to have standing. Opp. 9. But the PETA court, Judge Millett included, held the exact




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opposite. Judge Millett conceded, in a separate opinion, that the majority opinion identified no

such requirement and that the majority opinion’s recitation of the two-part standing analysis is

correct under existing D.C. Circuit precedent. 797 F.3d at 1094–95; id. at 1099 (Millett, J.,

dubitante). Indeed, the court ultimately held that PETA had standing because its mission was to

protect wildlife, the challenged agency action did not protect wildlife, and PETA had to expend its

own resources to counteract that agency action. Id. at 1094–95 (panel op.).

               2.      HRF Has Prudential Standing

       HRF also has prudential standing, which, in the APA context, “is not meant to be [an]

especially demanding” test.       Match-E-Be-Nash-She-Wish Band of Pottawatomi Indians v.

Patchak, 567 U.S. 209, 225 (2012). Defendants contend that because the INA does not regulate

or confer benefits to organizations like HRF, it “cannot be within the INA’s zone of interests.”

Opp. 13. That, however, is not the test. The test requires only that “[t]he interest [the plaintiff]

asserts . . . be arguably within the zone of interests to be protected or regulated.” Patchak, 567

U.S. at 224 (emphasis added). “Courts ‘do not require any indication of congressional purpose to

benefit the would-be plaintiff,’ and the Supreme Court has ‘always conspicuously included the

word “arguably” in the test to indicate that the benefit of any doubt goes to the plaintiff.’” O.A.,

404 F. Supp. 3d at 144 (quoting Patchak, 567 U.S. at 225). Organizations, like HRF, providing

legal assistance to refugees protected by the INA fall squarely within that statute’s zone of

interests. See, e.g., E. Bay Sanctuary Covenant v. Trump, 932 F.3d 742, 768 (9th Cir. 2018); CAIR

Coal., 471 F. Supp. 3d at 43. 1




       1
          For the reasons detailed at length in CAIR Coal., 471 F. Supp. 3d at 43–44, Defendants’
reliance on INS v. Legalization Assistance Project, 510 U.S. 1301, 1302, 1305 (1993) (O’Connor,
J., in chambers), and FAIR v. Reno, 93 F.3d 897, 900–04 (D.C. Cir. 1996), is misplaced.



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               3.      This Court Has Statutory Jurisdiction

       Defendants do not dispute that courts may hear systemic challenges to regulations

implementing the INA’s expedited removal provisions. 2 See Opp. 13–14. Nor could they. The

INA funnels those challenges to this District, permits review of questions of law, and requires that

challenges be initiated within 60 days of the regulations’ implementation.                8 U.S.C.

§ 1252(a)(2)(A) (stripping courts of jurisdiction over certain challenges related to expedited

removal, “except as provided in subsection (e)”);        id. § 1252(e)(3) (allowing for systemic

challenges, that raise questions of law within 60 days of implementation). Where a party brings a

challenge that complies with subsection 1252(e)(3)’s requirements, the general grant of

jurisdiction in 28 U.S.C. § 1331 for claims presenting federal questions is “preserved.” Make the

Rd. N.Y. v. Wolf, 962 F.3d 612, 625 (D.C. Cir. 2020). Because HRF’s challenge complies with

these requirements, it has properly invoked this Court’s jurisdiction under 28 U.S.C. § 1331. 3

       Defendants claim that only individuals, not organizations, can bring challenges under

subsection 1252(e)(3). In fact, section 1252(e)(3)’s text leads to the opposite conclusion: it refers


       2
          Defendants erroneously contend that preliminary relief is not available in such cases.
Opp. 44. Section 1252(e)(3)(A)’s limitation to “determinations of whether” a challenged
regulation is “constitutional” or “otherwise in violation of law” does not impliedly limit courts to
ordering relief only on the merits. Similarly, section 1252(f) does not, as Defendants contend,
Opp. 44–45, preclude this Court from enjoining the Rule. It applies only to enjoining the
“operation of the provisions of part IV of this subchapter.” That limitation clearly only applies to
injunctions striking down specified statutory provisions. The section does not prevent injunction
of regulations implementing the statutory provisions. Notably, elsewhere in section 1252, the
statute specifically refers to rules implementing statutes as distinct from the statutes themselves
for purposes of the availability of judicial review. Compare 8 U.S.C. § 1252(f) (referring only to
statutory provisions) with id. § 1252(e)(3)(i) (referring to statutory provisions and “any regulation
issued,” separately). Had Congress meant section 1252(f) to apply to regulations and statutes, it
would have said so. See Keene Corp. v. United States, 508 U.S. 200, 208 (1993).
       3
          Defendants incorrectly invoke the provisions of 8 U.S.C. § 1252(b)(9) and (a)(5) to
contend the claims are not justiciable. Opp. 9–10. Those provisions apply only where a plaintiff’s
claims “aris[e] out of” a removal order and are “certainly not a bar where, as here, the parties are
not challenging any removal proceedings.” DHS v. Regents, 140 S. Ct. at 1907.


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to “any actions instituted” (emphasis added) to challenge expedited removal procedures, without

any reference to who must bring that action. Defendants’ argument thus rests on the premise that,

although it wrote “any action” Congress meant “any action except those brought by organizations.”

Congress does not speak in such code. Section 1252 is rife with limitations on the availability of

judicial review. See, e.g., 8 U.S.C. § 1252(e)(3); id. § 1252(a). Those express limitations are

exhaustive. Andrus v. Glover Const. Co., 446 U.S. 608, 616–17 (1980).

       The D.C. Circuit case on which Defendants chiefly rely, Make the Rd. N.Y., supports HRF’s

position. See Opp. 14–15 (citing 962 F.3d at 627). There, the D.C. Circuit held that the

“straightforward reading” of section 1252(e)(3) did not limit its scope only to allow for actions

initiated by individual plaintiffs or to claims related to individual expedited removal proceedings.

See Make the Rd. N.Y., 962 F.3d at 626. Although the claims raised by Make the Rd. N.Y. were

made on behalf of its members through a theory of associational standing, the D.C. Circuit did not

rely on that fact in reasoning that the statute permitted the organizational plaintiff to pursue its

claims pursuant to the procedure in section 1252(e)(3). Id. at 626.

       Defendants’ reliance on American Immigration Lawyers Association v. Reno, 199 F.3d

1352 (D.C. Cir. 2000), is similarly misplaced. Opp. 14–15. The AILA court did not, as Defendants

contend, id., hold that section 1252(e)(3) applies only to suits by individuals. Rather, as the Make

the Rd. N.Y. court explained, AILA held narrowly that an organization could not assert “third-party

organizational standing” on behalf of non-members who could themselves raise their own claims

under section 1252(e)(3) directly. Make the Rd. N.Y., 962 F.3d at 627–28; see also AILA, 199 F.3d

at 1357. Neither case held that an organization cannot bring a claim on its own behalf.

       Defendants’ position is atextual, unsupported by any case, and at odds with the “‘well-

settled’ and ‘strong presumption’ in favor of judicial review” of administrative action that “[t]he




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Supreme Court has ‘consistently applied to immigration statutes,’” including 8 U.S.C. § 1252.

Make the Rd. N.Y., 962 F.3d at 625. This Court should reject it.

       B.      The Agencies’ Promulgation of the Rule Was Ultra Vires

               1.      Chad Wolf Did Not Have Authority to Promulgate the Rule 4

       Defendants construct a dizzying set of parallel narratives to validate Chad Wolf’s purported

appointment as Acting DHS Secretary, yet they fail to show why this Court should depart from

the chorus of its peers that have found him to be serving unlawfully. Four courts have already

held, either finally or on a preliminary injunction motion, that Mr. Wolf lacked authority to

promulgate any regulations as Acting Secretary. See Mot. 14–15 (citing cases); Compl. ¶ 60.

Defendants largely ignore these cases, contending that none of the numerous defects to Mr. Wolf’s

tenure have consequences. See Opp. 15–18. This contention is contrary to law and reason.

       When Mr. Wolf approved the final Rule, he was ineligible to serve as Acting Secretary

because he had occupied that role for longer than the 210 days permitted by the Federal Vacancies

Reform Act (“FVRA”). The Agencies do not contest the relevant timeline, but argue instead that

the FVRA’s time limits are inapplicable to Mr. Wolf because he assumed his acting role pursuant

to an order of succession issued under the Homeland Security Act (“HSA”), rather than the FVRA.

See Opp. 17–18. This argument fails for at least three reasons.

       First, Defendants’ position—that the HSA entirely displaces the FVRA’s limitations on

acting officials—is inconsistent with the statutory text and purpose. Because the Constitution


       4
          The material facts supporting HRF’s argument with respect to the legality of Mr. Wolf
serving as Acting Secretary are not in dispute, do not require additional factual development, and
are susceptible to judicial notice. See Kaspersky Lab, Inc. v. DHS, 909 F.3d 446, 464 (D.C. Cir.
2018). Thus, if the Court found Mr. Wolf to be serving unlawfully, it could enter summary
judgment in favor of HRF invalidating the rule, obviating the need for the Court to perform the
four-factor preliminary injunction analysis at this stage only to reach the merits on the same record
at a later date. See L.M.-M. v. Cuccinelli, 442 F. Supp. 3d 1, 15 (D.D.C. 2020) (converting a
preliminary injunction motion to an expedited motion for summary judgment).


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generally requires that individuals serving as officers be constitutionally appointed, Congress has

only established statutory workarounds authorizing “the performance of the duty of the superior

for a limited time, and under special and temporary conditions.” See L.M.-M., 442 F. Supp. 3d at

23 (quoting United States v. Eaton, 169 U.S. 331, 343 (1898)). The FVRA provides for a limited

exception to its exclusive governance over acting officials, whereby an agency-specific statute can

authorize a different succession order to designate individuals to serve “temporarily” in an acting

capacity. 5 U.S.C. § 3347(a). The HSA permits the Secretary of DHS to designate an order of

succession “notwithstanding” the FVRA, but provides no guidance as to the time period for which

such acting officials may serve. 6 U.S.C. § 113(g). Accordingly, there is no conflict between the

HSA and FVRA’s time limitations, and no cause to displace those limitations. See J.E.M. Ag

Supply v. Pioneer Hi-Bred Int’l, 534 U.S. 124, 143–44 (2001) (“[W]hen two statutes are capable

of coexistence, it is the duty of the courts . . . to regard each as effective.”). Defendants’ contention

that a conflict exists because the HSA “does not” impose a time limit while the FVRA does, Opp.

18, is simply unfounded—statutory silence does not conflict with an independent statutory

requirement. See J.E.M., 534 U.S. at 144 (holding that statutes with “different requirements” were

consistent and both enforceable).

        Second, Defendants’ reading undermines Congress’s purpose in passing the FVRA

specifically to address the problem of “indefinite” acting officials. S. Rep. No. 105-250, at 3

(1998). And third, interpreting the HSA to permit an Acting Secretary to serve indefinitely would

raise serious constitutional concerns amounting to a “circumvention of the Appointments Clause.”

United States v. Smith, 962 F.3d 755, 765 n.3 (4th Cir.), cert. denied, 2020 WL 7132617 (U.S.

Dec. 7, 2020); see also NRLB v. Sw. Gen., Inc., 137 S. Ct. 929, 935–36 (2017) (detailing the

common use of lengthy acting appointments and the “threat [they posed] to the Senate’s advice




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and consent power”). Accordingly, Mr. Wolf is not exempt from the FVRA’s restrictions. And

because Mr. Wolf was not in compliance with FVRA when he purported to perform the duties of

DHS Secretary by approving the Rule, it “shall have no force or effect.” 5 U.S.C. § 3348(d)(1).

       In addition, even if Mr. Wolf’s tenure did not violate the FVRA, he would still be serving

in violation of the HSA—an independent reason the Rule is invalid. 5 The courts that decided this

issue uniformly held that then-Secretary Nielsen’s amendment of DHS’s order of succession did

not govern the vacancy her resignation created, and that Mr. McAleenan’s subsequent amendment

to put Mr. Wolf next in line for the acting role was ineffective. See, e.g., Batalla Vidal v. Wolf,

Nos. 16-cv-4756 & 17-cv-5228, 2020 WL 6695076, at *8–9 (E.D.N.Y. Nov. 14, 2020). 6

       It is perhaps logical that Defendants attempt an “alternative” theory, under which FEMA

Administrator Peter Gaynor amended the succession order in November 2020, exercising “any

authority” he might have as Acting DHS Secretary pursuant to the FVRA during the pendency of

Mr. Wolf’s nomination to the Senate. See Opp. Ex. 3 (Swartz Decl.) at 9–10 (“Gaynor Order”).

But the Gaynor Order also suffers from a fatal flaw—Mr. Gaynor was not the Senate-confirmed

DHS Secretary, and therefore he too lacked authority under the HSA to amend the succession

order. See Nw. Immigrant Rights Project v. U.S. Citizenship & Immigration Servs., No. 19-cv-

3283, 2020 WL 5995206, at *23 (D.D.C. Oct. 8, 2020). Indeed, he was not ever appointed to even

the role of Acting Secretary. See Opp. 7 (explaining that Mr. Gaynor exercised “any authority” he

“might possess as Acting Secretary” (emphasis added)).


       5
         Defendants do not dispute that an action taken after the expiration of the FVRA’s 210-
day period, if applicable, is void ab initio or that an action undertaken by an individual who is
unauthorized to serve as Acting Secretary under the HSA is “in excess of . . . authority” and not
“in accordance with law” for APA purposes. 5 U.S.C. § 706(2)(C) and (2)(A).
       6
         The information contained in the Blackwell and Swartz Declarations, Opp. Exs. 2 & 3,
adds nothing new to the records on which those courts determined that the Nielsen and McAleenan
amendments were ineffective.


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       An individual who has not been Senate confirmed as Secretary, nor even appointed as

Acting Secretary, lacks authority to amend the succession order under both the FVRA and HSA.

The FVRA is the “exclusive means” for designating an acting official unless another statute

“expressly authorizes” certain individuals to do so. 5 U.S.C. § 3347(a)(1). And section 113(g) of

the HSA expressly provides that “the Secretary may designate such other officers of the

Department in further order of succession to serve as Acting Secretary.” 6 U.S.C. § 113(g). Thus,

the HSA authorizes only the Secretary—and not the Acting Secretary—to designate an order of

succession inconsistent with the FVRA. This reading “has the additional benefit of avoiding any

constitutional concerns” under the Appointments Clause. Nw. Immigrant Rights Project, 2020

WL 5995206, at *23. Accordingly, Mr. Gaynor, too, lacked the authority to put Mr. Wolf in the

role of Acting Secretary.

       Moreover, Defendants’ contention that the Gaynor Order was effective to designate Mr.

Wolf as Acting Secretary is in direct conflict with their stated position that Mr. Wolf was validly

serving as Acting Secretary pursuant to the HSA as of Mr. McAleenan’s resignation. If Mr. Wolf

was Acting Secretary, Mr. Gaynor could not simultaneously exercise authority as Acting Secretary

to change the order of succession. See Batalla Vidal, 2020 WL 6695076, at *9. Defendants

suggest that “it is Plaintiff’s own theory under which Gaynor became Acting Secretary,” and

“[t]here is nothing improper with the official Plaintiff believes is Acting Secretary taking action.”

Opp. 18 n.4. That is nonsense. Either Mr. Gaynor was serving as Acting Secretary or—as is the

case—he was not. Certainly, HRF has nothing to do with that determination. Congress set forth

a detailed statutory scheme for determining who is authorized to lead DHS to ensure accountability

and stability, see Sw. Gen., Inc., 139 S. Ct. at 935, and the Agencies’ position(s) are utterly

inconsistent with that goal.




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       At bottom, Mr. Wolf had no authority under either the FVRA or any of the series of

defective succession orders to assume the role of Acting DHS Secretary, yet he purported to

exercise the duties and functions of that office. This is a far more serious issue than the “drafting

error” Defendants awkwardly claim, Opp. 45; it threatens Congress’s power to check the

President’s choice of officers. See Sw. Gen., Inc., 139 S. Ct. at 935–36. Any resulting disruption

to DHS’s work lies squarely at the feet of the Executive, which has failed for over two years to

appoint a duly authorized person to occupy the lead role of “a critical federal national security

agency.” Opp. 45. Mr. Wolf’s promulgation of the Rule was “in excess of . . . authority” and not

“in accordance with law,” and the Rule must be enjoined. 5 U.S.C. § 706(2)(A), (2)(C). 7

               2.      The Agencies Exceeded the Scope of Their Delegated Authority

       Defendants contend—without support—the Rule will not “end asylum” and therefore the

Agencies did not overstep Congress’s delegation of authority.           Opp. 20–22.      Defendants

mischaracterize the Rule’s drastic scope.

       First, the sweeping nature of the Rule is neither a “talking point” nor “speculative,” as

Defendants dismissively contend. See Opp. 20. HRF meticulously identified the various ways

each Rule provision makes the asylum process more difficult for refugees in its ninety-six page

complaint. And it explained precisely how an individual applying for asylum would find it almost

impossible to clear the many hurdles the Rule creates. Mot. 6–10. Nor is the point “unsupported”



       7
         Defendants argue in passing that any defect in the authority of putative Acting Secretary
Wolf does not affect the validity of the provisions governing DOJ’s implementation of the INA.
Opp. 45. Bifurcating the Rule to allow only the DOJ provisions to go into effect would be
unworkable, nonsensical, and flatly inconsistent with the Rule’s stated purpose. The Court need
look no further than the Rule itself for confirmation. As the Agencies put it, “the DHS and DOJ
regulations are inextricably intertwined,” and therefore one set cannot survive the invalidation of
the corresponding set. 85 Fed. Reg. at 80,286; see Epsilon Elecs., Inc. v. Dep’t of Treasury, 857
F.3d 913, 929 (D.C. Cir. 2017).


                                                 11
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as Defendants claim. HRF’s CEO provided a declaration detailing the ways the Rule will lead to

drastically fewer asylum grants, negatively impacting 80% of HRF’s clients. Breen Decl. ¶¶ 11,

31–32. If HRF were incorrect in characterizing each hurdle the Rule creates, Defendants would

have readily said so. They did not, because the hurdles the Rule imposes are real. Together they

virtually eliminate asylum.

       Second, Defendants claim that, “Plaintiff does not explain what ‘numerous, near-

insurmountable hurdles’ the Rule would have put in [HRF’s clients’] way, Mot. 17 . . . .” Opp.

20. That is egregiously misleading. HRF’s CEO identified six prior HRF clients who were granted

asylum. For each, he explained with reference to specific provisions how the Rule would have

negatively affected their meritorious claims. He then explained:

       The Rule’s disparagement of gender-based claims, penalization of asylum seekers
       for the route by which they fled, minimization of threats constituting persecution,
       nonsensical interpretation of what it means to be firmly resettled, illogical
       narrowing of qualifying political opinions, and improper exclusion of relevant
       evidence would likely have thwarted their meritorious claims. This is the very
       definition of refoulement.

Breen Decl. ¶ 32.

       Third, the Agencies agree that the Rule will lead to fewer asylum grants. 85 Fed. Reg. at

80,384. And they concede “that the Rule is a significant regulatory action.” Id. at 80,377. Now

Defendants blame HRF for not explaining the effect of the Rule, even though that was the

Agencies’ job. In any event, HRF did do the Agencies’ job as to its own clients. As HRF’s CEO

explained, based on a review of its caseload, HRF estimated that the Rule would negatively impact

80% of its clients. Breen Decl. ¶ 11. Since HRF’s current success rate for clients is 97%, id. ¶ 7,

a negative impact on 80% of its clients’ claims would be staggering, to put it mildly.

       Finally, none of HRF’s delegation arguments relies on the proposition that the Rule will

end asylum, though it will do just that for all but very few. Instead, the delegation question is



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whether the Executive has authority to overhaul the asylum system in a way that undermines the

INA’s guarantee to protect refugees or in violation of separation of powers.

       Defendants’ assertions of authority to enact such a sweeping rule are equally misguided.

They invite the Court to reach the extraordinary conclusion that their general section 1103

authority to issue rules necessary to administer and enforce our immigration laws gives them the

power to change the refugee definition and asylum system at will. 8 See Opp. 19, 21 (citing 8

U.S.C. § 1103(a)(1) & (3); id. § 1103(g)). This Court should reject this improvident invitation.

       First, Defendants read the INA’s grant of rulemaking authority in isolation, without regard

to the many specific provisions of the INA that govern asylum proceedings. See Opp. 19, 21;

Gustafson v. Alloyd Co., 513 U.S. 561, 569 (1995). Congress’s “general allowance” for the

Secretary and the Attorney General to take acts necessary to administer and enforce the statute

“cannot entail the authority to rewrite” the INA. Al Otro Lado, Inc. v. McAleenan, 394 F. Supp.

3d 1168, 1211 (S.D. Cal. 2019); cf. Gulf Fishermens Ass’n v. Nat’l Marine Fisheries Serv., 968

F.3d 454, 465 (5th Cir. 2020). In Al Otro Lado, the Government argued that section 1103(a)’s

authorization to take necessary actions should be read broadly to authorize the implementation of

a metering policy. See 394 F. Supp. 3d at 1209. The court rejected this broad reading, reasoning

that section 1103(a) did not provide a basis for the Secretary to restrict immigration processing at

ports of entry because specific INA provisions addressed that processing. See id. at 1210–11.




       8
         The Agencies also point to 8 U.S.C. § 1103(a)(1), which vests the DHS Secretary with
authority to implement the INA, “[p]rovided, however, [t]hat determination and ruling by the
Attorney General with respect to all questions of law shall be controlling.” That provision requires
that the Executive branch officials who share responsibility for administering immigration laws
abide by the Attorney General’s legal determinations as between themselves—it does not grant the
Attorney General unreviewable authority to interpret the INA however he chooses. See, e.g., Kar
Onn Lee v. Holder, 701 F.3d 931, 936 (2d Cir. 2012) (reviewing Attorney General’s interpretation
of INA for reasonableness and consistency with the expressed intent of Congress).


                                                13
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Here, too, section 1103 provides no justification for the Agencies to restrict access to the U.S.

asylum system, the procedures, standards, and eligibility requirements of which are set forth in the

statute. See, e.g., 8 U.S.C. §§ 1158, 1225 & 1229a.

       Second, the INA’s delegation provisions should be read narrowly so as to avoid any

Constitutional concern. The reading Defendants urge this Court to adopt would raise significant

separation-of-powers questions by granting the Executive nearly unfettered authority to change

the will of Congress. Cf. Gundy v. United States, 139 S. Ct. 2116, 2126, reh’g denied, 140 S. Ct.

579 (2019).     Defendants brush aside this serious concern in a mere two sentences by

mischaracterizing the Rule’s effect as simply filling “statutory gaps.” Opp. 21. But that obfuscates

the point. The question is not whether there are statutory gaps, but whether the Executive’s actions

usurp Congress’s role. Here, they clearly do, as the Rule rewrites the entire asylum regime to the

detriment of the very individuals Congress sought to protect. See Mot. 6–10.

       Third, even assuming arguendo Congress could have delegated the authority the Agencies

usurp here, Congress needed to make that delegation expressly. See Mot. 20–22. It did not.

Defendants cherry-pick provisions in the INA they contend are ambiguous to argue that Congress

“implicitly delegate[d]” to the Agencies the power to limit substantially the availability of asylum.

Opp. 19. But this only proves HRF’s point. Congress cannot “implicit[ly] delegate” to agencies

the power to answer “a question of deep economic and political significance that is central to the

statutory scheme.”     King v. Burwell, 576 U.S. 473, 485–86 (2015).             Yet the Agencies’

interpretations aim to answer a major question that Congress has reserved for itself, i.e., the scope

of refugee protection in the United States. 9 Taken together, they “destabilize” the statute’s balance



       9
        An ambiguity in an isolated provision does not given an agency carte blanche to
promulgate regulations at odds with the statutory scheme as a whole. See Graham Cnty. Soil &



                                                 14
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between avoiding refoulement and efficient removal of aliens struck by Congress in these statutes,

“and likely create the very” policy problem—i.e. refoulement in violation of the United States’

international commitments—“that Congress designed the Act[s] to avoid.” See King, 576 U.S. at

492–93; see also Grace v. Barr, 965 F.3d 883, 902 (D.C. Cir. 2020) (IIRIRA and the INA balance

the statutory objectives of non-refoulement and efficiency). The separation of powers prohibits

agencies from wresting the legislative pen from Congress in this manner.

       C.      The Rule Is Arbitrary and Capricious

       Defendants’ justifications of the Rule are substantively unavailing and procedurally

improper. In offering the rationales animating the Rule, the Agencies repeatedly failed to

“consider [] important aspect[s] of the problem,” “articulate a satisfactory explanation for its

action,” draw a “rational connection between the facts found and the choice made,” and rely only

“on factors which Congress has . . . intended [them] to consider.” Motor Vehicle Mfrs. Ass’n v.

State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983).

       The Agencies failed to consider negative effects of diminished access to asylum on the

economy, offered overstated and internally inconsistent gains to the system’s “efficiency,” and

grossly understated the increased risk of refoulement of refugees—in violation of the United

States’ binding international commitments and the statutes ensuring compliance with them. Mot.

22–32. Not only were these issues raised in the comments, the Agencies failed to respond

meaningfully in the Rule. See Carlson v. Postal Reg. Comm’n, 938 F.3d 337, 344 (D.C. Cir. 2019)

(“[A]n agency must respond to comments ‘that can be thought to challenge a fundamental premise’



Water Conserv. Dist. v. United States ex rel. Wilson, 559 U.S. 280, 290 (2010) (courts “construe
statutes, not isolated provisions”); see also United Sav. Ass’n of Tex. v. Timbers of Inwood Forest
Assocs., 484 U.S. 365, 371 (1988) (“A provision that may seem ambiguous in isolation is often
clarified by the remainder of the statutory scheme . . . because only one of the permissible meanings
produces a substantive effect that is compatible with the rest of the law.”).


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underlying the proposed agency decision.”). As these failures go to the Rule’s foundation, the

appropriate remedy is to enjoin the Rule in full.

        Effect on the Economy and Fisc. The Agencies failed to consider altogether the economic

and fiscal effects of this sweeping Rule, Mot. 29–30, which, as explained in Michael Clemens’s

declaration, Mot. Ex. C., will predictably amount to the loss of billions in the short term. Notably,

the Defendants do not even attempt to challenge the accuracy, methodology, or relevance of the

Clemens Declaration in any way, or his expertise. Rather, they urge the Court to ignore the

Declaration entirely because it is not part of the administrative record. Opp. 27. But the

Declaration falls squarely within the D.C. Circuit’s express exception for evidence necessary “to

determine whether the agency considered all the relevant factors.” See Animal Legal Def. Fund,

Inc. v. Perdue, 872 F.3d 602, 611 (D.C. Cir. 2017). HRF submitted the Clemens Declaration

precisely for that reason: to show that the economic and fiscal costs of the Rule which the Agencies

did not consider is relevant, if not dispositive, to the cost-benefit analysis.

        Instead, the only “costs” that the Agencies even mention in the Rule are costs to asylum

applicants, 85 Fed. Reg. at 80,349 & 80,372, and “intangible” costs, id. at 80,378. Commenters

squarely raised this issue. The International Refugee Assistance Project (“IRAP”) commented that

the Rule would shut out people, “who before the Rule would have received asylum and then been

able to seek employment, earn an income, and contribute to governmental tax coffers,” and noted

that the NPRM “provide[d] no analysis” on why this economic impact would not “trigger the major

rule designation.” 10 Catholic Charities Community Services highlighted the “accelerated or



        10
              IRAP, Comment Letter on Proposed Rule, 5 (July 15, 2020),
https://beta.regulations.gov/comment/EOIR-2020-0003-5998; see also id. (an increase in
detention and removal costs from the Rule, alone, would cost in excess of $100 million).



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differential disposition of asylum cases will have other impacts . . . on the economy” which the

Agencies failed to address, including loss of immigrant tax contributions.11 These well-supported

comments called into question the Agencies’ dubious claim that any economic costs of the Rule

would be non-existent or un-quantifiable. They required reasoned responses.

       Efficiency. The Agencies’ efficiency rationale completely falls apart when considered

against Defendants’ primary defense that asylum is determined on a case-by-case basis and many

of the Rule’s provisions are only applicable “in general.” Opp. 20. 12 But they cannot have it both

ways. Either the Rule creates efficiency by streamlining procedures and adding rules designed to

be applied uniformly to the detriment of claims, see 85 Fed. Reg. at 80,285, or the Rule’s

provisions must be applied only in the context of a case’s full merits, see Opp. 20. If the former,

the Rule unacceptably sacrifices refoulement at the altar of efficiency. If the latter, then the Rule’s

main rationale falls away; the Rule will not be efficient and will still lead to refoulement.

Defendants’ case-by-case claim as to discretionary factors, for example, ignores how these factors

will put a thumb, often an impossibly heavy thumb, on the scale against granting asylum.

       Defendants also appear to define “efficiency” only in terms of cost and claims-processing

times. See 85 Fed. Reg. 80,371–72. The most “efficient” system would be to halt asylum

processing altogether. Yet, that would result—as the Rule does—in the refoulement of individuals

with otherwise meritorious asylum claims in violation of federal statutes and binding United



       11
           Catholic Charities Community Services, Comment Letter on Proposed Rule, 4 (July 14,
2020), https://beta.regulations.gov/comment/EOIR-2020-0003-5021.
       12
          The Agencies’ efficiency rationale is also undermined by the Agencies’ front line
employees—immigration judges and asylum officers. Mot. 29. Defendants do not argue that those
individuals are mistaken. Instead, they contend that the Agency could ignore these concerns
because these commenters did not have as much information as the Agencies. Opp. 25–26. That
proves too much. Under that rationale, any agency could reject any comments on the basis that it
knows more than the commenter.


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States’ treaty obligations. See Mot. 3–6 (reviewing the United States’ statutory and treaty

obligations to avoid refoulement). Efficency is not just a question of merely dollars and cents or

minutes and hours; the Agencies were required to determine whether the Rule’s changes better

enable the United States to abide by binding legal obligations. Non-refoulement, not efficiency,

is the Agencies’ binding legal obligation and should have served as a touchstone for their analysis.

See Grace, 965 F.3d at 902 (non-refoulement is an important objective of the INA).

       Refoulement. In the rare instance in which the Agencies mentioned the risk of refoulement,

they relied on circular reasoning to explain away that risk. See Mot. 23–28. Commenters

highlighted that the Rule will lead to refoulement, Mot. 26–27; Compl. ¶ 229, which Congress

passed the Refugee Act to prevent. The Agencies responded that the Rule could not result in

refoulement of individuals with “meritorious claims.” 13     But the Rule redefines “meritorious

claims” only to include those claims that would be granted under the new Rule, so of course, by

this definition, the Rule would not lead to the denial of “meritorious claims.” See, e.g., 85 Fed.

Reg. at 80,314, 80,274, 80,378. The question is whether the Rule’s redefinition of a meritorious

claim will lead to denials of asylum for persons who have meritorious claims under the refugee

standard that Congress created in the INA. It will.

       Violations of International Law. Commenters also highlighted that the Rule’s changes

with respect to asylum eligibility—and, by extension, eligibility for withholding of removal—

violate international law and run counter to guidance from UNHCR. See, e.g., Compl. ¶ 231.

Accord Mot. Ex. C. Defendants’ retort, that UNHCR’s guidance is not binding, Opp. 23, misses



       13
         The Agencies claim that the Rule does not violate international law on refoulement
because withholding of removal is available. That is small comfort, as the Rule also makes
withholding of removal effectively impossible to obtain. See 85 Fed. Reg. at 80,378.



                                                18
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the point: 14 Congress codified its obligations under the protocol in the Refugee Act, so the

Agencies cannot simply ignore the Rule’s violation of international law. For the same reason,

Defendants’ claim that the Agencies were allowed to ignore international law implications because

the 1967 Protocol is not self-executing, see id., is inapposite. Because Congress passed the

Refugee Act to bring the United States into conformance with that protocol, the INA must be read

and implemented in a manner that avoids international law violations. Mot. 33 n.34.

        Procedure.       At each step of this process, the Agencies prioritized expediency over

stakeholders’ interests. In choosing a 30-day comment period 15 and a 30-day implementation

period, the Agencies departed from the guidelines established by statute and Executive Order. See

Compl. ¶¶ 243–48; Mot. 31–32. They offered no justification for these departures. If anything,

the fact that the rulemaking took place amidst a global pandemic and touched on a vast array of

regulations, the non-arbitrary, non-capricious periods for public comment and implementation are

longer, not shorter than usual. This hasty promulgation was arbitrary, and the Rule should be

stayed as a result. 16

                                              *****

        It is not a coincidence that, in the Rule’s “almost 100 single-spaced, multi-columned

pages,” Opp. 23, the Agencies wholly sidestepped the many comments challenging “fundamental


        14
         The Supreme Court has instructed courts to draw significant guidance from UNHCR.
See Mot. 25 (citing INS v. Cardoza-Fonseca, 480 U.S. 421, 439 & n.22 (1987)). The same
reasoning applies to the Agencies.
        15
           Defendants selectively quote National Lifeline Association v. FCC, 921 F.3d 1102 (D.C.
Cir. 2019). The D.C. Circuit did not “state[]” that 30-day comment periods were “generally
sufficient,” compare Opp. 26 (quoting 85 Fed. Reg. at 80,373) with Nat’l Lifeline, 921 F.3d at
1117. Instead, the court found that there was an “inability to comment meaningfully within this
brief time” and ultimately found the FCC’s actions arbitrary and capricious. Id.
        16
         In the alternative—and at a minimum—a new, appropriately long notice-and-comment
period should be ordered.



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premise[s]” of the Rule. Because those comments so drastically undermined the Agencies’ basis

for the rulemaking, it would have been hard to justify promulgating the Rule after engaging with

these comments in the requisite “reasoned manner.” See Reytblatt v. NRC, 105 F.3d 715, 722

(D.C. Cir. 1997). Nor is it a coincidence that, despite their admitted obligation to consider the

many offered alternatives 17 to the chosen rules, Opp. 26 (citing Nat’l Shooting Sports Found. v.

Jones, 716 F.3d 200, 215 (D.C. Cir. 2013)), they failed to consider a single one.

       D.      Defendants’ Defenses of Specific Provisions Are Flawed

       Defendants (again) dismiss HRF’s legal arguments by mischaracterizing them as policy

disagreements. Opp. 28. But HRF made specific allegations about how each provision violates

the INA and APA in its Complaint, see ¶¶ 79–211, and discussed many provisions in even more

detail in its Motion, see Mot. 32–41. Should this Court decline to grant relief on the grounds

discussed supra, it should still find each of the Rule’s provisions contrary to the INA and APA.

       The provision-specific defenses Defendants offer in their opposition are wanting. In

response to HRF’s argument that Provision 2.9—the Rule’s new discretionary factors—bears no

rational relationship to the merit of asylum claims, the Defendants say that the “factors . . . do not

need to relate to the merits of an applicant’s asylum claim.” Opp. 29. But then the Agencies and

Defendants were required to explain why these factors are necessary at all. Instead of doing so,

Defendants point the finger at HRF, faulting it for not refuting the Agencies’ unsupported claim



       17
           See, e.g., Center for Migration Studies, Comment Opposing Proposed Rule (July 7,
2020), https://beta.regulations.gov/comment/EOIR-2020-0003-5958 (referring Agencies to peer-
reviewed article with recommendations for reform of the asylum system); Roundtable of Former
Immigration Judges, Comment Letter on Proposed Rule (July 13, 2020),
https://beta.regulations.gov/comment/EOIR-2020-0003-4734 (suggesting removal of factors
judges must consider in favor of a totality of the circumstances approach to achieve Agencies’
stated goal of efficiency); UNHCR, Comment Letter on Proposed Rule (July 15, 2020),
https://beta.regulations.gov/comment/EOIR-2020-0003-5471 (offering recommendations related
to each provision of the Rule).


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that “there is a higher likelihood that aliens who fail to apply for protection . . . en route to the

United States are misusing the asylum system.” See id. But HRF (along with many commenters)

raised concerns about the policy of and logic underlying these discretionary factors. See, e.g.,

Compl. ¶¶ 193–94; Mot. 37–38. That is not HRF’s job; the Agencies have the legal obligation to

support the claims used to support their changes. See FCC v. Fox TV Stations, Inc., 556 U.S. 502,

515 (2009). And on that score, they offered no evidence to support their speculative assertion.

       For Provision 2.7, the Rule’s new bar on cultural evidence, Defendants parrot the final

Rule’s reliance on Matter of A-R-C-G-, 26 I. & N. Dec. 388, 394 (BIA 2014). But as HRF

explained in its Complaint, the issue in Matter of A-R-C-G was the scarcity of the evidence in the

record (a partial quotation from a news article), not the use of such evidence generally. Compl.

¶ 177. Defendants ignore this argument entirely. Defendants also leave unanswered one of HRF’s

primary arguments on Provision 2.8 (internal relocation). HRF argued that the new requirement

to consider “demonstrated ability to relocate to the United States” would weigh against every

single asylum seeker in the United States because each one necessarily made their way here. Mot.

39. Defendants do not, because they cannot, refute this point.

       In defending Provision 2.10 (firm resettlement), Defendants point to a case the Agencies

sought to rely upon through the final Rule: Nat’l Cable & Telecomms. Ass’n v. Brand X Internet

Servs., 545 U.S. 967, 982 (2005). But the Agencies’ rushed notice-and-comment period and lack

of responsiveness to comments discussed supra render any deference to the Agencies improper.

See Encino Motorcars, LLC v. Navarro, 136 S. Ct. 2117, 2126 (2016). 18 Moreover, “firmly” is

anything but ambiguous, rendering Brand X irrelevant.           See Compl ¶¶ 198–201; Mot. 33.




       18
          The Agencies’ Chevron arguments fare no better. Encino Motorcars, 136 S. Ct. at 2126
(“An arbitrary and capricious regulation . . . is itself unlawful and receives no Chevron deference”).


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Alternatively, the interpretation of firm resettlement Defendants offer—whether an individual

“could have received . . . non-permanent” status in a third country, Opp. 35—is not reasonable.

        In defense of their new provision allowing IJs to decide applications without any hearing

(Provision 2.2), Defendants argue that near-instant denial of asylum applications is “well

established in the law,” Opp. 37. In support, Defendants cite three federal court decisions, only

one of which is immigration-related and another of which has been abrogated. 19 Moreover, in

Tilija v. Attorney General, 930 F.3d 165 (3d Cir. 2019), the one immigration case Defendants cite

in this section, the Third Circuit faulted the lower immigration courts for applying an “overly

rigorous standard” and reversed, finding that the applicant established a prima facie case. Id. at

172, 174. It is difficult to see how that case could possibly support the Agencies’ even greater

restriction of application adjudication. It certainly does not supplant the statute’s plain text: “An

immigration judge shall conduct proceedings for deciding the inadmissibility or deportability of

an alien.” 8 U.S.C. § 1229a(a)(1) (emphasis added).

        As for their redefinition of political opinion (Provision 2.4), Defendants argue that the Rule

simply “codifies the ordinary meaning of ‘political opinion.’” Opp. 38–39. But the very definition

that the Agencies cite belies this characterization: a political opinion is one that “relat[es] to

government,” or “the conduct of government,” or “the making . . . of government policy,” or

“politics.”    Id. at 39 (citing Merriam-Webster Dictionary, Definition of “Political,”

https://www.merriam-webster.com/dictionary/political (last visited Jan. 1, 2021)). This is a far




        19
          Opp. 37 (citing Smith v. Janey, 664 F. Supp. 2d 1 (D.D.C. 2009), aff’d sub nom. Smith
v. Rhee, 2010 WL 1633177 (D.C. Cir. Apr. 6, 2010) (employment discrimination action); White v.
Abrams, 495 F.2d 724 (9th Cir.), disapproved of by Lewelling v. First Cal. Co., 564 F.2d 1277
(9th Cir. 1977), and abrogated by Hollinger v. Titan Cap. Corp., 914 F.2d 1564 (9th Cir. 1990)
(violation of securities laws)).



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broader category of opinion than only those “in support of the furtherance of a discrete cause

related to political control of a State or a unit thereof.” 85 Fed. Reg. at 80,385, 80,394 (emphasis

added). Defendants have no response to this mismatch, nor do they justify excluding opinions

other than those related to political control. 20 Compare Mot. 36 with Opp. 38–41.

II.    HRF Will Be Irreparably Harmed If the Rule Is Not Enjoined

       HRF has demonstrated irreparable harm.           The Rule will “perceptibly impair[] the

[organization’s] programs” and the Rule “directly conflict[s] with the organization’s mission.”

League of Women Voters v. Newby, 838 F.3d 1, 8 (D.C. Cir. 2016). In Newby, the D.C. Circuit

found irreparable harm where the challenged voter registration requirement would make

registration more difficult, reducing the number of voters the plaintiff could register and causing a

diversion of resources as a result of the policy. Id. at 8–9. HRF asserts the same kind of irreparable

harm: it advances its mission by helping individuals obtain asylum, the challenged Rule makes

that more difficult, as a result, the organization will help fewer individuals successfully obtain

asylum and will be forced to divert resources to do so. See Breen Decl. ¶¶ 4, 10–11. In Newby,

as here, two of the challenged policies had not yet taken effect, but the D.C. Circuit nevertheless

found that a failure to enjoin those policies would cause irreparable harm because “a preliminary

injunction requires only a likelihood of irreparable injury.” Newby, 838 F.3d at 8–9 (“Damocles’s

sword does not have to actually fall on all appellants before the court will issue an injunction.”).

And, just as in Newby, “there can be no do over and no redress” because individuals whom HRF

cannot help are likely to be ordered removed while this case is pending. Id. at 8 (finding harm to

organization irreparable because unregistered voters will be unable to register after the registration



       20
          INS v. Elias-Zacarias, 502 U.S. 478 (1992), offers no support for the Agencies’ narrow
interpretation. That case addressed whether the “political opinion” in question was held by the
victim or by the persecutor; it did not purport to limit the meaning of “political.” See id. at 482.


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deadlines for an election pass).

       The balance of equities also weighs in favor of an injunction. Defendants assert only vague

“law enforcement and public safety interests” in their favor. Opp. 41–42. That hardly seems time

sensitive, given that by Defendants’ account the Rule has been in consideration for 20 years. In

any event, there is “no public interest in the perpetuation of unlawful agency action.” Newby, 838

F.3d at 12. Defendants contend that HRF improperly “invoke[s] third party harms to non-party

aliens.” Opp. 42. But, of course, those harms to members of the public are properly considered

part of the public interest and weigh heavily in favor of issuing the injunction. See Newby, 838

F.3d at 12–13 (considering “risk that citizens will be disenfranchised”).

III.   The Rule Must Be Enjoined or Stayed Nationwide

       Defendants argue as though Human Right First’s request for a nationwide injunction is an

extraordinary remedy that is inconsistent with the APA, when it is in fact merely an instantiation

of a court’s congressionally authorized power to stay the effective date of a regulation pending

judicial review. See 5 U.S.C. § 705. Indeed, the APA goes further and authorizes courts to “issue

all necessary and appropriate process to postpone the effective date of an agency action or to

preserve status or rights pending conclusion of the review proceedings.” Id.

       Defendants assert that “[t]he APA provides only that a court may ‘hold unlawful and set

aside agency action,’” Opp. 43 (quoting 5 U.S.C. § 706(2)), when in fact that statute provides that,

“[t]he reviewing court shall hold unlawful and set aside agency actions . . . found to” violate the

APA, 5 U.S.C. § 706(2). From this misquote, Defendants argue that the APA does not ever allow

for preliminary equitable relief that reaches beyond the specific parties to the litigation. See Opp.

43. Yet the statute allows precisely for that. See 5 U.S.C. § 705. The “postpone[ment] [of] the

effective date of an agency action” necessarily contemplates ordering relief beyond the parties

because an “agency action” includes whole rules with nationwide effect. Id. § 551 (“‘agency


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action’ includes the whole or part of an agency rule”). Narrower relief creates unworkable,

bifurcated regulatory schema. For that reason, courts in this district commonly enjoin rules on a

nationwide basis. See Whitman-Walker Clinic, Inc. v. U.S. Dep’t of Health & Servs., -- F. Supp.

3d --, 2020 WL 5232076, at *43 (D.D.C. Sept. 2, 2020) (collecting cases).

       HRF’s claims require that the entire Rule be enjoined. The Agencies’ failures to appoint

officials with authority to act, to act within their statutorily delegated authority, and to abide by

the APA’s reasoned decision-making requirements on foundational aspects of the Rule all infect

the Rule as a whole. Insofar as the Court rests its decision on the Agencies’ failures with respect

to specific provisions, Defendants assert only that “any relief must be tailored . . . to the specific

provisions shown to be unlawful.” Opp. 42. But Defendants fail to recognize—let alone analyze—

the severability doctrines for regulations found to be unlawful under the APA. 21 See Opp. 42–43

(citing only cases pertaining to statutory severability clauses). Courts may not sever regulations

where they are “intertwined” with the unlawful portions. See Sierra Club v. FERC, 867 F.3d 1357,

1366 (D.C. Cir. 2017); Sorenson Commc’ns. Inc. v. FCC, 755 F.3d 702, 710 (D.C. Cir. 2014).

Because Defendants have “[s]ince the beginning of [the rulemaking],” “treated the project as a

single, integrated proposal,” neither agency would have approved such a fragmentary rule. Sierra

Club, 867 F.3d at 1366–67; see 85 Fed. Reg. at 80,285–86 (the Rule’s purpose is to “harmonize”

the asylum system).

                                          CONCLUSION

       For the foregoing reasons, HRF asks the Court to enter a preliminary injunction to halt

implementation of the Rule.



       21
          Nor did the Agencies. They justify the inclusion of severability clauses in the Rule by
citing only their own “belief” that the regulations operate independently without any analysis of
why that is so. See 85 Fed. Reg. at 80,393.


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Dated: January 1, 2021                   Respectfully submitted,


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49(c)(8), and certification to practice pursuant to LCvR 83.2(g) to be submitted.
